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                  UNITED STATES DISTRICT COURT

                  SOUTHERN DISTRICT OF GEORGIA

                        STATESBORO DIVISION

WESLEY BERNARD MKEN,

        Movant,

V.                                       Case No. CV610-025
                                                  CR607-031
UNITED STATES OF AMERICA,

        Respondent.

                   REPORT AND RECOMMENDATION

        A jury convicted Wesley Bernard Aiken of conspiracy to violate 18

U.S.C. § 511, § 513, § 1001, § 2321 and § 2313 -- trafficking in stolen
motor vehicles with altered identification numbers, forged state
securities with the intent to defraud, receipt of stolen motor vehicles, and

making false statements to federal law enforcement officers. CR607-931,

docs. 466 (redacted indictment) & 468 (jury verdict). The Court
sentenced him to 51 months' imprisonment, ordered him to make
$82,546.28 in restitution, and directed him to pay a $100 special
assessment. Doe. 628.
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     While appealing his case, doe. 632, Aikens declared war on reality.

First, he "paid" his restitution by filing a "Creditor's promissory note of

payment for the complete restitution in the sum certain amount of

$82,546.28." Doe. 751; see also doe. 752 (a second promissory note to

cover the $100 special assessment against him); doe. 771 (he re-filed the

$82,546.28 note because somehow it got "accepted for value and returned

for value"); doe. 772 (an additional, $100,000,000 promissory note,

apparently for good measure); doe. 773 (an additional $1 billion

promissory note, also apparently for good measure).

     Second, he dismissed his own appeal with prejudice. Doc. 770.

This evidently made sense to him, because he now moves for 28 U.S.C. §

2255 relief. Doc. 774. He wants out of prison and his monetary

obligations discharged since, he contends, he has now made a

"Satisfaction and Accord" with the government. Id. at 4 (Ground One,

which is his only ground). In support, he attaches another $1 Billion

promissory note. Id. at 7; see also doe. 777 (his "acknowledgement" that

be has tendered the promissory note "to cover any/all fees and cost in the

aforesaid CRIMINAL CASE NO.; and for the release of the physical

body/VESSEL of Debtor /Petitioner: WESLEY BERNARD AIKENS, and


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any/all other real/personal property thereof [See e.g. FEDERAL CIVIL


JUDICIAL PROCEDURES and RULES, RULE "ET' (5) (a), SPECIAL

BOND]."). And, having now tendered promissory notes in the "face

amount [of] 4 BILLION U.S. DOLLARS" to the government, doe. 778 at

1. Aikens also moves the Court for the release of his property. Id. at 2.

        Pursuant to 28 U.S.C. § 2255 Rule 4, Wesley Bernard Aikens's

§2255 motion (doe. 774) must be DENIED as pathethically frivolous.

The Court also DENIES his "release of property" motion (doe. 778) as

likewise frivolous.

        SO REPORTED AND RECOMMENDED, this 3rd day of June,

2010.



                            UNITED 9UTES MAGISTRATE JUDGE
                            SOUTI[ERN DISTRICT of GEORGIA




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